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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

YOUFIT HEALTH CLUBS, LLC, et al.,1                                   Case No. 20-12841 (MFW)

                                Debtors.                             (Jointly Administered)


          GLOBAL NOTES, RESERVATIONS OF RIGHTS, AND STATEMENTS
         OF LIMITATIONS, METHODOLOGY, AND DISCLAIMERS REGARDING
            THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND
                     STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
filing their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of
Financial Affairs (the “Statements” and together with the Schedules, the “Schedules and
Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code, 11 U.S.C.
§§ 101 et seq. (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”).

        Brian Gleason has signed each set of the Schedules and Statements. Mr. Gleason serves
as the Chief Restructuring Officer for each of the Debtors and is an authorized signatory for each
of the Debtors with respect to the Schedules and Statements. In reviewing and signing the
Schedules and Statements, Mr. Gleason has necessarily relied upon the efforts, statements, and
representations of various personnel of the Debtors and the Debtors’ legal and financial advisors.
Given the scale of the Debtors’ business and the complexity of the Debtors’ records, Mr. Gleason
has not (and could not have) personally verified the accuracy of each statement and representation
contained in the Schedules and Statements, including, without limitation, statements and
representations concerning amounts owed to creditors, the classification of such amounts, and
creditor addresses.

        The Debtors’ management team prepared the Schedules and Statements with the assistance
of the Debtors’ financial and legal advisors and other professionals. The Schedules and Statements
are unaudited and subject to potential amendment or supplementation. In preparing the Schedules
and Statements, the Debtors relied on financial data derived from the Debtors’ books and records
that was available at the time of preparation. The Debtors have made every reasonable effort to
ensure that the Schedules and Statements are as accurate and complete as possible under the

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    The last four digits of YouFit Health Clubs, LLC’s tax identification number are 6607. Due to the large number
    of debtor entities in these chapter 11 cases, a complete list of the debtor entities and the last four digits of their
    federal tax identification numbers is not provided herein. A complete list of such information may be obtained
    on the website of the claims and noticing agent at www.donlinrecano.com/yfhc. The mailing address for the
    debtor entities for purposes of these chapter 11 cases is: 1350 E. Newport Center Dr., Suite 110, Deerfield Beach,
    FL 33442.
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circumstances and based upon such information as was available at the time of preparation.
Inadvertent errors or omissions may exist, and subsequent receipt or discovery of information or
further review and analysis of the Debtors’ books and records or other information may result in
changes or updates to information contained in the Schedules and Statements. The Debtors reserve
the right to update, amend, or supplement the Schedules and Statements from time to time, in all
respects, as may be necessary or appropriate. The Debtors, on behalf of themselves, their officers,
employees, advisors, and other agents, disclaim any liability to any third party arising out of or
related to the information contained in the Schedules and Statements and otherwise reserve all
rights with respect to the Schedules and Statements.

                          Global Notes and Overview of Methodology

       1.      Description of Cases. On November 9, 2020 (the “Petition Date”), each of the
Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
are operating their businesses and managing their property as debtors in possession pursuant to
sections 1107(a) and 1108 of the Bankruptcy Code. On November 10, 2020, the Court entered the
Order Authorizing and Directing the Joint Administration of the Debtors’ Chapter 11 Cases for
Procedural Purposes Only [Docket No. 37]. Notwithstanding the joint administration of the
Debtors’ cases for procedural purposes, each Debtor has filed its own set of Schedules and
Statements. On November 18, 2020, the United States Trustee for the District of Delaware
appointed an official committee of unsecured creditors pursuant to section 1102 of the Bankruptcy
Code.

       2.      Global Notes Control. These Global Notes, Reservations of Rights, and
Statements of Limitations, Methodology, and Disclaimers Regarding the Debtors’ Schedules of
Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and Statements.
The Global Notes should be referred to and referenced in connection with any review of the
Schedules and Statements. In the event that the Schedules and Statements conflict with these
Global Notes, these Global Notes shall control.

        The fact that the Debtors have prepared a Global Note with respect to a particular Schedule
or Statement, or a particular part or item therein, and not as to others, does not reflect and should
not be interpreted as a decision by the Debtors to exclude the applicability of such Global Note to
any or all of the remaining Schedules or Statements, or other parts or items therein, as appropriate.
Disclosure of information in one Schedule, one Statement, or an exhibit or attachment thereto,
even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
exhibit, or attachment, as the case may be.

        3.      Basis of Presentation. The Schedules and Statements are unaudited and do not
purport to be financial statements prepared in accordance with generally accepted accounting
principles in the United States of America (“GAAP”), nor were they reconciled with the Debtors’
financial statements. These Schedules and Statements represent a good faith attempt to comply
with the requirements of the Bankruptcy Code and Bankruptcy Rules using commercially
reasonable efforts and resources available and are subject to further review and potential
adjustment.



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        The Debtors used reasonable efforts to attribute the assets and liabilities, certain required
financial information, and various cash disbursements to each particular Debtor entity. Because
the Debtors’ accounting systems, policies, and practices were developed for consolidated reporting
purposes rather than for reporting by legal entity, it is possible that not all assets and liabilities
have been recorded with the correct legal entity on the Schedules and Statements. Accordingly,
the Debtors reserve all rights to supplement and amend the Schedules and Statements in this regard,
including with respect to reallocation of assets or liabilities to any particular entity.

        4.      Reporting Date. Unless otherwise noted herein or in the Schedules and
Statements, all asset values (other than for cash holdings and deposits) contained in the Schedules
and Statements and herein are as of October 31, 2020. Values of cash holdings and deposits are
as of the Petition Date. In addition, the values of most prepayments are as of October 31, 2020,
but the values for professional retainers are as of the Petition Date. Furthermore, the values of the
Debtors’ liabilities are as of the Petition Date; however, certain liability values have been adjusted
for authorized payments made under the First Day Orders (as defined below).

        5.      Reservation of Rights. The Debtors and their advisors who assisted in the
preparation of the Schedules and Statements do not guarantee or warrant the accuracy or
completeness of the data that is provided herein and shall not be liable for any loss or injury arising
out of or caused in whole or in part by errors or omissions, negligent or otherwise, in preparing,
collecting, reporting, or communicating the information contained herein. The Debtors and their
advisors do not have an obligation to update, modify, revise, or re-categorize the information
provided herein, or to notify any third party upon such revisions. In no event shall the Debtors or
their advisors be liable to any third party for any direct, indirect, incidental, consequential, or other
damages (including, but not limited to, damages arising from the disallowance of a potential claim
against a Debtor or damages to business reputation, lost business or lost profits), whether
foreseeable or not and however caused, even if the Debtors or their advisors are advised of the
possibility of such damages. The Debtors reserve all rights to amend and/or supplement the
Schedules and Statements from time to time as is necessary and appropriate.

       The failure to designate a claim in the Schedules and Statements as “contingent,”
“unliquidated,” or “disputed” does not constitute an admission by the Debtors that such claim or
amount is not “contingent,” “unliquidated,” or “disputed.” The Debtors reserve their rights to
dispute, or to assert offsets or defenses to, any claim reflected on the Schedules or Statements on
any grounds, including, but not limited to, amount, liability, priority, status, or classification, or to
otherwise subsequently designate any claim as “contingent,” “unliquidated,” or “disputed.” The
Debtors reserve all of their rights to amend the Schedules and Statements as necessary and
appropriate, including, but not limited to, with respect to claim description and designation.

        The Debtors have made commercially reasonable efforts to correctly characterize, classify,
categorize or designate certain claims, assets, executory contracts, among other items reported in
the Schedules and Statements. Nevertheless, the Debtors may have improperly characterized,
classified, categorized, or designated certain items. The listing of a claim on Schedule D as
“secured,” on Schedule E/F (Part 1) as “priority,” on Schedule E/F (Part 2) as “nonpriority” or the
listing of a contract or lease on Schedule G as “executory” or “unexpired” does not constitute an
admission by the Debtors as to the legal rights of the claimant or a waiver of the Debtors’ rights to
re-characterize or re-classify such claim or contract pursuant to an amendment to the Schedules, a


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claim objection, or otherwise. The Debtors thus reserve all of their rights to recharacterize,
reclassify, recategorize, or re-designate items reported in the Schedules and Statements at a later
time as necessary or appropriate as additional information becomes available.

        The Debtors’ accounting system was designed and maintained to manage the consolidated
treasury and cash management systems of the Debtors, as well as report the Debtors’ financial
results on a consolidated basis. Additionally, the Debtors’ accounting and finance staff were
trained to follow procedures consistent with these primary objectives. Accordingly, neither the
Debtors nor their advisors can ensure that transactions recorded in the Debtors’ books and records
with respect to one Debtor do not inadvertently reflect activity of another Debtor.

        Any specific reservation of rights contained elsewhere in the Global Notes does not limit
in any respect the foregoing general reservation of rights.

        6.      Valuation. It would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations of all of their
assets. Accordingly, unless otherwise indicated, the Schedules and Statements reflect net book
values as of October 31, 2020. Cash is reported based on the balances of the Debtors’ bank
accounts as of the Petition Date. Amounts ultimately realized may vary from net book value (or
whatever value was ascribed) and such variance may be material. Accordingly, the Debtors
reserve all of their rights to amend or adjust the value of each asset set forth herein. In addition,
the amounts shown for total liabilities exclude items identified as “unknown” or “undetermined”
and, thus, ultimate liabilities may differ materially from those stated in the Schedules and
Statements. In some instances, the Debtors have used estimates where actual data was not
available. The Debtors have not hired a third party to value their assets for purposes of completing
the Schedules and Statements.

       7.      Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars.

       8.       Quantification of Claims. Amounts that were not readily quantifiable by the
Debtors are reported as “undetermined,” “unknown,” or “N/A” and any such designation is not
intended to reflect the magnitude or materiality of any claim.

        9.      Claims Paid Pursuant to Court Orders. Pursuant to several motions filed on the
Petition Date (the “First Day Motions”), the Debtors sought authority to pay certain outstanding
prepetition payables pursuant to court order. The Bankruptcy Court entered certain orders
authorizing the Debtors to pay certain of the outstanding prepetition payables it sought to pay
under the First Day Motions (the “First Day Orders”). Consequently, certain prepetition fixed,
liquidated, and undisputed unsecured claims, including, but not limited to, certain claims for
employee wages that had accrued in the 180 days prior to the Petition Date, have been paid
following the Petition Date. Where and to the extent these claims have been satisfied or are
anticipated to be satisfied, they may not be listed in the Schedules and Statements. To the extent
the Debtors later pay any amount of the claims listed in the Schedules and Statements pursuant to
any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or supplement
the Schedules and Statements as is necessary or appropriate.




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         10.     Prepetition and Postpetition Liabilities. The Debtors have sought to allocate
liabilities between the prepetition and postpetition periods based on the information and research
conducted in connection with the preparation of the Schedules and Statements. As additional
information becomes available and further research is conducted, the allocation of liabilities
between the prepetition and postpetition periods may change. Accordingly, the Debtors reserve
all of their rights to amend, supplement, or otherwise modify the Schedules and Statements as is
necessary or appropriate.

        11.     Agreements with Members. The Debtor counterparty on all agreements with the
Debtors’ members and other customers, including membership agreements and other agreements
for recurring services, such as personal training services, is YouFit Health Clubs, LLC. All such
agreements are property of YouFit Health Clubs, LLC and the payment obligations arising
thereunder, which are primarily, but not exclusively, for monthly membership fees, are owed to
YouFit Health Clubs, LLC. The payments received from members and other customers under
such agreements, the cash proceeds of other transactions with members or other customers,
including, without limitation, point-of-service cash sales at the Debtors’ clubs of saleable
inventory owned by YouFit Health Clubs, LLC, and all other such revenues and proceeds are
property of YouFit Health Clubs, LLC.

        12.     Club-Level Entities. The Debtors operate their clubs at leased locations and do
not own any real property except for leasehold interests held by those of the Debtors that are the
lessees under such leases. Generally, each of the Debtors’ clubs has a corresponding legal entity
that serves as the lessee under the lease pertaining to the location of the club. While such club-
level Debtor entities are liable for rents and other obligations under the leases, the funds actually
used by the Debtors to satisfy such obligations, along with any other monetary obligations incurred
at the club level, are supplied by YouFit Health Clubs, LLC. The club-level Debtor entities store
and use certain business equipment, all of which is owned by YouFit Health Clubs, LLC, at the
Debtors’ clubs pursuant to intercompany equipment licensing agreements, and use the YouFit
mark and other intellectual property, held by YouFit, LLC, pursuant to intercompany licensing
agreements.

        13.     Intercompany Transactions. As is more fully set forth in the Motion of the
Debtors for Entry of Interim and Final Orders (A) Authorizing the Maintenance of Bank Accounts
and Continued Use of Existing Business Forms and Checks, (B) Authorizing the Continued Use of
Cash Management System, (C) Waiving Certain Investment and Deposit Guidelines, and
(D) Granting Administrative Expense Status to Postpetition Intercompany Claims [Docket No. 15]
(the “Cash Management Motion”), in the ordinary course of business, the Debtors maintain
business relationships among each other that give rise to certain intercompany transactions,
including, for example, cash sweeps and intercompany loans that occur as part of the daily
operation of the Debtors’ cash management system, as well as payments on account of the
obligations of YouFit Health Clubs, LLC to the club-level Debtor entities for rents and other such
club-level obligations. Due to historical accounting practices whereby the Debtors, for accounting,
reporting, and monitoring purposes only, accounted for revenues at the club level, the Debtors
have been unable to ascertain the precise amount of intercompany receivables and payables as of
the Petition Date. The listing of any intercompany payables and receivables, even with
undetermined amounts, on Schedules A/B or Schedules E/F, as the case may be, is not and should
not be construed as an admission of the characterization of any balances between or among the


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Debtors as debt, equity, or otherwise. For the avoidance of doubt, the Debtors reserve all rights,
claims, and defenses in connection with any and all intercompany receivables and payables,
including with respect to the amounts and characterization of any intercompany claims.

        14.     Setoffs. The claims of individual creditors for, among other things, goods, products,
services or taxes are listed as the amounts entered on the Debtors’ books and records and may not
reflect credits, allowances or other adjustments due from such creditors to the Debtors. The
Debtors reserve all of their rights regarding such credits, allowances, or other adjustments.

        15.     Property and Equipment. Nothing in the Schedules or Statements, including,
without limitation, the failure to list leased property or equipment as owned property or equipment
or vice-versa, constitutes, or shall be construed as, an admission as to the determination of legal
status of any lease, including whether any lease is a true lease or financing arrangement, and the
Debtors reserve all their rights with respect to such issues.

        16.     Exclusions. The Debtors believe that they have identified, but did not necessarily
value, all material categories of assets and liabilities in the Schedules and Statements. The Debtors
have excluded certain categories of assets, tax accruals, and liabilities from the Schedules and
Statements, including employee benefit accruals, accrued accounts payable, and deferred gains.
The Debtors also have excluded potential rejection damage claims of counterparties to executory
contracts and unexpired leases that may be rejected, to the extent such damage claims may exist.
In addition, certain immaterial assets and liabilities may have been excluded.

         17.     Causes of Action. The Debtors, despite their reasonable efforts, may not have
listed all of their causes of action or potential causes of action against third parties as assets in the
Schedules and Statements, including, without limitation, causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code and any other relevant nonbankruptcy laws to
recover assets or avoid transfers. The Debtors reserve all of their rights with respect to any causes
of action they may have, whether arising before, on, or after the Petition Date, in contract or in tort,
at law or in equity, or pursuant to any other theory of law, and neither these Global Notes nor the
Schedules and Statements shall be deemed a waiver of any such causes of action.

        18.     Insiders. For purposes of the Schedules and Statements, the Debtors defined
“insiders” in accordance with the provisions of section 101(31) of the Bankruptcy Code. Persons
listed as “insiders” have been included for informational purposes only, however, and the
designation of such persons as “insiders” on the Schedules and Statements does not constitute, and
should not be construed as, an admission that such persons constitute insiders within the meaning
of section 101(31) of the Bankruptcy Code. Moreover, these Global Notes and the Schedules and
Statements do not take any position with respect to: (a) any person’s influence over the control of
the Debtors; (b) the management responsibilities or functions of any such person; (c) the decision
making or corporate authority of any such person; or (d) whether the Debtors or any person who
may have had control over the Debtors could successfully argue that such person is not an “insider”
under applicable law or with respect to any theories of liability or for any other purpose.

         19.    Litigation. Certain litigation reflected as claims against one of the Debtors may
relate to any of the other Debtors. The Debtors have made reasonable efforts to accurately record
such claims in the Schedules and Statements of the Debtors against whom such claims lie.


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         20.   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
reasonable efforts to locate and identify guarantors, co-obligors, or other secondarily-liable parties
under executory contracts, unexpired leases, secured financing agreements, and other such
arrangements or agreements. Where such guarantors or co-obligors have been identified, the
Debtors have included them in the relevant Schedules D, E/F, G and/or H for the applicable
Debtor. The Debtors may have inadvertently omitted certain guarantees or other secondary
liability embedded in their contractual agreements.

        21.    Totals. All totals that are included in the Schedules and Statements represent totals
of known amounts only and do not include any undetermined amounts. To the extent there are
unknown or otherwise undetermined amounts, the actual total may be materially different than the
listed total. Due to unliquidated, contingent and/or disputed claims, summary statistics in the
Schedules and Statements may significantly understate the Debtors’ liabilities.

        22.     Intellectual Property Rights. The exclusion of any intellectual property shall not
be construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction.

        23.    Confidentiality. There may be instances in the Schedules and Statements where
the Debtors deemed it necessary and appropriate to omit from the public record information such
as individuals’ names and addresses. Typically, the Debtors have used this approach because of
an agreement between the Debtors and a third party, concerns of confidentiality and protection of
sensitive commercial information, and concerns for the privacy of individuals. In particular,
addresses of members and other customers of the Debtors are generally not included in the
Schedules and Statements.

        24.     Accuracy. The financial information disclosed herein was not prepared in
accordance with GAAP, federal or state securities laws, or other applicable nonbankruptcy law or
in lieu of complying with any periodic reporting requirements thereunder. Persons and entities
trading in or otherwise purchasing, selling, or transferring the claims against the Debtors should
evaluate this financial information in light of the purposes for which it was prepared. The Debtors
are not liable for and undertake no responsibility to indicate variations from securities laws.

                    Specific Notes to the Schedules of Assets and Liabilities

Classifications of Claims

        Listing a claim on Schedule D as “secured,” or on Schedule E/F as “priority” or
“nonpriority,” or a contract or lease on Schedule G as “executory” or “unexpired,” does not, in
each case, constitute an admission by the Debtors of the legal rights of the claimant or the legal
status of such claim or contract, or a waiver of the Debtors’ right to recharacterize or reclassify
such claim or contract.

Summary of Assets and Liabilities

       For financial reporting purposes, the Debtors ordinarily prepare consolidated financial
statements in accordance with GAAP. The Schedules reflect the assets and liabilities of each


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Debtor on a nonconsolidated basis, except where otherwise indicated. Accordingly, the totals
listed in the Schedules will likely differ, at times materially, from the consolidated financial reports
prepared by the Debtors for financial reporting purposes or otherwise, which may reflect
consolidation, elimination and step-up in basis adjustments to the financial statements.

Schedule A/B

        As noted above, despite commercially reasonable efforts to identify all known assets, the
Debtors may not have listed all of its causes of action or potential causes of action against third
parties as assets in the Schedules and Statements, including, but not limited to, causes of action
arising under the Bankruptcy Code or any other applicable laws to recover assets or avoid transfers.

        Part 1, Item 3

        As is more fully set forth in the Cash Management Motion, the Debtors maintain
approximately thirteen (13) bank accounts and utilize a cash management system in the ordinary
course of business to efficiently collect, concentrate, and disburse funds generated by their
operations. The account holder for six (6) of the Debtors’ bank accounts is YouFit Health Clubs,
LLC, while other Debtor entities are the account holders for the remaining seven (7) bank accounts.
The Debtors have listed each bank account on the Schedules of the Debtor who is the named
account holder on such bank account. However, for the reasons set forth in Global Notes 11 and
12 above and the Specific Note on Schedule A/B, Part 5, Item 21 below, all cash deposited and/or
held in the bank accounts, regardless of the name on the account, is property of YouFit Health
Clubs, LLC.

        Part 2, Items 7 & 8

       The Debtors’ characterization of an asset listed in Part 2, Items 7 and 8 is not a legal
characterization of either a deposit or a prepayment. The Debtors reserve their rights to re-
categorize or recharacterize such assets at a later time as appropriate. All prepayments are as of
October 31, 2020, except for professional retainer payments which are as of the Petition Date.

        Part 5, Item 21

        YouFit Health Clubs, LLC owns certain finished goods inventory, including, without
limitation, certain branded and other promotional items, such as t-shirts, towels, water bottles, and
other similar products, which inventory is stored and sold at the Debtors’ clubs in the ordinary
course of business. All such inventory has been scheduled on Schedule A/B for YouFit Health
Clubs, LLC, regardless of the location where such inventory was located as of the Petition Date.

        Part 5, Items 39 to 40, 50

        YouFit Health Clubs, LLC owns certain business equipment, including gym equipment
and office equipment, as well as all fixtures, including certain gym equipment, which is stored and
used at the Debtors’ clubs in the ordinary course of business pursuant to intercompany licensing
agreements. All such equipment and fixtures have been scheduled on Schedule A/B for YouFit
Health Clubs, LLC, regardless of the locations where such equipment and fixtures were being
stored and used as of the Petition Date.


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       Part 9, Item 55

        The Debtors account for leasehold improvements at the club-level as the club-level Debtor
entities are the lessees under the leases for the locations where the Debtors operate their clubs.
Leasehold improvements have therefore been scheduled on Schedules A/B for the various club-
level entities.

Schedule E/F

       Priority/Nonpriority Status

        The listing of any claim on Schedule E/F does not constitute an admission by the Debtors
that such claim is entitled to priority treatment under section 507 of the Bankruptcy Code or that
the amount of the claim is accurate. The Debtors reserve their right to dispute the priority status
of any claim on any basis.

       Potential Customer Claims

        As of the Petition Date, the Debtors had more than 340,000 current members and over
100,000 former members (i.e., those who cancelled their memberships within one year of the
Petition Date) (collectively, the “Customers”). To schedule such potential liabilities on an
individual basis, to the extent possible, would not only be speculative, cost prohibitive, and unduly
burdensome, but would also likely cause the Schedules to be dauntingly voluminous. Therefore,
while the Debtors cannot reasonably estimate the value of Customer claims, the Debtors have
made a good-faith effort to list an aggregate Customer liability based solely on the Debtors’ books
and records. Due to the COVID-19 pandemic and related gym closures, the Debtors have and may
continue to receive membership cancellation and refund requests. As the Debtors cannot know or
estimate how many additional membership cancellation and refund requests may be made, the
estimate of Customer claims as of the Petition Date may not reflect actual Customer liabilities.
Consequently, the estimated aggregate Customer liability included in the Schedules is highly
speculative and the facts surrounding any Customer claims will expectantly be Customer-specific.
Furthermore, amounts included in the estimated claim amount include amounts that may be
satisfied in the ordinary course of business. Accordingly, the Debtors believe the estimate
Customer claims amount likely overstates any actual claims, which amounts cannot be determined
with reasonable certainty at this time.

       Claims of Counterparties to Executory Contracts and Unexpired Leases

        Schedule E/F reflects the prepetition amounts owing as of the Petition Date to
counterparties to executory contracts and unexpired leases. Such prepetition amounts, however,
may be paid in connection with the assumption, or assumption and assignment, of executory
contracts or unexpired leases. Additionally, Schedule E/F does not include potential rejection
damage claims, if any, of the counterparties to executory contracts and unexpired leases that may
be rejected.




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       Part 1, Item 2

        In the ordinary course of business, the Debtors incur certain personal property and sales
tax obligations in the various jurisdictions in which the Debtors operate. Such personal property
tax obligations are assessed based on the equipment and other personal property stored at the
locations of the Debtors’ clubs. Sales tax obligations are based on taxable revenue earned by
YouFit Health Clubs, LLC. As set forth above in Global Notes 11 and 12 and the Specific Note
on Schedule A/B, Part 5, Item 21, YouFit Health Clubs, LLC owns all the equipment and other
personal property and all revenues generated by sales or otherwise; accordingly, all personal
property and sales tax obligations have been scheduled on Schedule E/F for YouFit Health Clubs,
LLC, regardless of which of the Debtors’ names may appear on the tax bills or statements.

Schedule G

         Although commercially reasonable efforts have been made to ensure the accuracy of
Schedule G regarding executory contracts and unexpired leases, inadvertent errors, omissions or
overinclusion may have occurred in preparing Schedule G. Omission of a contract, lease or other
agreement from Schedule G does not constitute an admission that such omitted contract, lease or
agreement is not an executory contract or unexpired lease. The Debtors hereby reserve all of their
rights to (i) dispute the validity, status, or enforceability of any contract, agreement or lease set
forth in Schedule G and (ii) amend or supplement such Schedule as necessary. Furthermore, the
Debtors reserve all of their rights, claims, and causes of action with respect to the contracts and
agreements listed on the Schedules, including the right to dispute or challenge the characterization
or the structure of any transaction, document, or instrument. The presence of a contract or
agreement on Schedule G does not constitute an admission that such contract or agreement is an
executory contract or unexpired lease. The contracts, agreements and leases listed on Schedule G
may have expired or may have been modified, amended, or supplemented from time to time by
various amendments, restatements, waivers, estoppel certificates, letters, or other documents,
instruments, or agreements that may not be listed therein. Certain of the real property leases listed
on Schedule G may contain renewal options, guarantees of payments, options to purchase, rights
of first refusal, rights to lease additional space, early termination rights, and other miscellaneous
rights. Such rights, powers, duties, and obligations are not set forth on Schedule G.

         For unexpired leases, the amounts listed do not reflect the total liability amount that would
be required to be recorded under ASC 842, which would require the total of all past and future
lease payments to be reflected on the books and records. Only past due lease payments have been
listed in the Schedules.

      Any and all rights, claims, and causes of action of the Debtors with respect to the
agreements listed on Schedule G are hereby reserved and preserved.


                     Specific Notes to the Statements of Financial Affairs

       Part 1, Item 1

        As set forth above in Global Notes 11 and 12 and the Specific Note on Schedule A/B,
Part 5, Item 21, YouFit Health Clubs, LLC owns all of the assets that produce revenue from the


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business of the Debtors; therefore, the Debtors have listed all gross revenue from the business of
the Debtors on the Statement for YouFit Health Clubs, LLC.

       Part 2, Items 3 and 4

        As is more fully set forth in the Cash Management Motion, the Debtors satisfy payables
through five (5) bank accounts maintained for the purpose of making disbursements. While YouFit
Health Clubs, LLC owns the funds that are the ultimate source of payments made through such
disbursement accounts, YouFit Health Clubs, LLC is the named account holder on only one (1)
such account. Therefore, while any transfers of funds are technically transfers of property of
YouFit Health Clubs, LLC, such transfers are listed only on the Statement of the Debtor entity
who is the named account holder of the disbursement account from which the transfer was made.
Further, all payments to insiders, including payments to insiders made within ninety (90) days of
the Petition Date, have been listed under Item 4.

       Part 13, Item 26.b

        Historically, the Debtors have conducted an annual certified financial audit of their
consolidated financials. In the course of such audits of the Debtors’ consolidated financials,
certain testing may have been performed with respect to certain individual Debtor entities;
however, no individual certified financial audits were ever produced as to any individual Debtor
entities.

       Part 13, Item 26.d

        As noted herein, the Debtors ordinarily prepare consolidated financial statements in
accordance with GAAP for financial reporting purposes. The Debtors issue their consolidated
financial statements in the ordinary course of business. It would be a timely and burdensome task
for the Debtors to go through their records to identify all financial institutions, creditors, and other
parties to whom the Debtors have issued a financial statement within the two (2) years prior to the
Petition Date; accordingly, the Debtors have not identified such recipients.




                                                  11
                               Case 20-12841-MFW                               Doc 402               Filed 12/07/20                    Page 12 of 42


Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875

                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                               12/15

 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                       $389,910.50



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                         $8,208.59



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                       $398,119.09

 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                 $88,259,121.01



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                       $0.00



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                               + $169,677.03




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................   $88,428,798.04




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1
                            Case 20-12841-MFW                   Doc 402        Filed 12/07/20           Page 13 of 42


Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:      Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
       þ No. Go to Part 2.
       ¨ Yes. Fill in the information below
       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor’s interest

2.     Cash on hand
2.1.   ________________________________________________________________________________________                              $________________

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)      Type of account                 Last 4 digits of account number Current value of
                                                                                                                             debtor’s interest
3.1.       ____________________________________              _________________________ _________________________ $_______________

4.         Other cash equivalents (Identify all)
           Description                 Name of institution             Type of account            Last 4 digits of account    Current value of
                                                                                                  number                      debtor’s interest
4.1.       _____________________ ________________________ _____________________ _____________________ $_______________

5.     Total of part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                                 $0.00

 Part 2:      Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?
       ¨ No. Go to Part 3.
       þ Yes. Fill in the information below




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                           Page 1 of 9
                            Case 20-12841-MFW                   Doc 402          Filed 12/07/20        Page 14 of 42

Debtor     YF Lafayette Place, LLC                                                                               Case number (if known) 20-12875

7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit                                                                Current value of
                                                                                                                           debtor’s interest

7.1.       UTILITIES                                                                                                       $8,208.59
           CITY OF TALLAHASSEE
           REVENUE DIVISION BOX A4
           300 SOUTH ADAMS STREET
           TALLAHASSEE FL 32301

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment                                                             Current value of
                                                                                                                           debtor’s interest
8.1.       _______________________________________________________________________________________                         $_______________
           _______________________________________________________________________________________

9.      Total of part 2
        Add lines 7 through 8. Copy the total to line 81.                                                                       $8,208.59

 Part 3:      Accounts receivable

10.     Does the debtor have any accounts receivable?
        þ No. Go to Part 4.
        ¨ Yes. Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor’s interest

11.        Accounts receivable
                                Face amount          Doubtful or uncollectible
                                                     accounts

11a.       90 days old or       $__________       - $_____________________          = ........ →                           $_______________
           less:

                                Face amount          Doubtful or uncollectible
                                                     accounts

11b.       Over 90 days old:    $__________       - $_____________________          = ........ →                           $_______________

12.     Total of part 3
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                     $0.00

 Part 4:      Investments

13.     Does the debtor own any investments?
        þ No. Go to Part 5.
        ¨ Yes. Fill in the information below.
                                                                                                   Valuation method used   Current value of
                                                                                                   for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. ___________________________________________________________________                          _____________________ $________________

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses,
           including any interest in an LLC, partnership, or joint venture
           Name of entity                                                        % of ownership
15.1.      ___________________________________________________                   ____________%     _____________________ $_______________

Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                        Page 2 of 9
                            Case 20-12841-MFW                   Doc 402    Filed 12/07/20          Page 15 of 42

Debtor     YF Lafayette Place, LLC                                                                          Case number (if known) 20-12875

16.        Government bonds, corporate bonds, and other negotiable and non-negotiable
           instruments not included in Part 1
           Describe
16.1.      __________________________________________________________________                  _____________________ $_______________

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                                   $0.00

 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        þ No. Go to Part 6.
        ¨ Yes. Fill in the information below.
           General description             Date of the last         Net book value of          Valuation method used   Current value of
                                           physical inventory       debtor's interest          for current value       debtor’s interest
                                                                    (Where available)
19.        Raw materials
19.1.      ________________________ _____________________ $___________________                 _____________________ $_______________

20.        Work in progress
20.1.      ________________________ _____________________ $___________________                 _____________________ $_______________

21.        Finished goods, including goods held for resale
21.1.      ________________________ _____________________ $___________________                 _____________________ $_______________

22.        Other inventory or supplies
22.1.      ________________________ _____________________ $___________________                 _____________________ $_______________

23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                                   $0.00

24.     Is any of the property listed in Part 5 perishable?
        ¨ No
        ¨ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
           General description                                             Net book value of      Valuation method     Current value of
                                                                           debtor's interest      used for current     debtor’s interest
                                                                           (Where available)      value

28.        Crops—either planted or harvested
28.1.      ___________________________________________________             $_______________       _________________ $_______________



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                   Page 3 of 9
                             Case 20-12841-MFW                Doc 402       Filed 12/07/20      Page 16 of 42

Debtor     YF Lafayette Place, LLC                                                                        Case number (if known) 20-12875

29.        Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.      ___________________________________________________              $_______________    _________________ $_______________

30.        Farm machinery and equipment (Other than titled motor vehicles)
30.1.      ___________________________________________________              $_______________    _________________ $_______________

31.        Farm and fishing supplies, chemicals, and feed
31.1.      ___________________________________________________              $_______________    _________________ $_______________

32.        Other farming and fishing-related property not already listed in Part 6
32.1.      ___________________________________________________              $_______________    _________________ $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        þ No. Go to Part 8.
        ¨ Yes. Fill in the information below.
           General description                                              Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

39.        Office furniture
39.1.      ___________________________________________________              $_______________    _________________ $_______________

40.        Office fixtures
40.1.      ___________________________________________________              $_______________    _________________ $_______________

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

                                                                            Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                                                value

41.1.      ___________________________________________________              $_______________    _________________ $_______________




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                Page 4 of 9
                            Case 20-12841-MFW                  Doc 402         Filed 12/07/20      Page 17 of 42

Debtor     YF Lafayette Place, LLC                                                                           Case number (if known) 20-12875

42.        Collectibles. Examples: Antiques and figurines; paintings, prints, or other
           artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
           or baseball card collections; other collections, memorabilia, or collectibles
42.1.      ___________________________________________________                 $_______________    _________________ $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                                   $0.00

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        ¨ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        þ No. Go to Part 9.
        ¨ Yes. Fill in the information below.
           General description                                                 Net book value of   Valuation method    Current value of
           Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current    debtor’s interest
           HIN, or N-number)                                                   (Where available)   value
                                                                               (Where available)
47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.      ___________________________________________________                 $_______________    _________________ $_______________

48.        Watercraft, trailers, motors, and related accessories. Examples: Boats,
           trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.      ___________________________________________________                 $_______________    _________________ $_______________

49.        Aircraft and accessories
49.1.      ___________________________________________________                 $_______________    _________________ $_______________

50.        Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.      ___________________________________________________                 $_______________    _________________ $_______________

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                   $0.00

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        ¨ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
 Part 9:      Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                   Page 5 of 9
                            Case 20-12841-MFW                   Doc 402        Filed 12/07/20          Page 18 of 42

Debtor     YF Lafayette Place, LLC                                                                               Case number (if known) 20-12875

          Description and location of property                      Nature and          Net book value      Valuation           Current value of
          Include street address or other description such as       extent of           of debtor's         method used for     debtor’s interest
          Assessor Parcel Number (APN), and type of property        debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,                in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.     __________________________________________                LEASEHOLD           UNDETERMINED        _______________ UNDETERMINED
          GYM FACILITY
          CLUB NO. 7394 - LAFAYETTE (MAHAN DRIVE)
          3111 MAHAN DRIVE SUITE 12
          TALLAHASSEE FL 32308

55.2.     __________________________________________                LEASEHOLD           $389,910.50         Net Book Value      $389,910.50
                                                                    IMPROVEMENTS
          GYM FACILITY
          CLUB NO. 7394 - LAFAYETTE (MAHAN DRIVE) -
          LEASEHOLD IMPROVEMENTS
          3111 MAHAN DRIVE SUITE 12
          TALLAHASSEE FL 32308

56.     Total of part 9
        Add the current value on lines 55. Copy the total to line 88.                                                             $389,910.50

57.     Is a depreciation schedule available for any of the property listed in Part 9?
        ¨ No
        þ Yes
58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 10: Intangibles and intellectual property

59.     Does the debtor have any interests in intangibles or intellectual property?
        ¨ No. Go to Part 11.
        þ Yes. Fill in the information below.
          General description                                                   Net book value of     Valuation method        Current value of
                                                                                debtor's interest     used for current        debtor’s interest
                                                                                (Where available)     value

60.       Patents, copyrights, trademarks, and trade secrets
60.1.     ___________________________________________________                   $_______________      _________________ $_______________

61.       Internet domain names and websites
                                                                                Net book value of     Valuation method        Current value of
                                                                                debtor's interest                             debtor’s interest
61.1.     ___________________________________________________                   $_______________      _________________ $_______________

62.       Licenses, franchises, and royalties
62.1.     CLUB NO. 7394 - SALES TAX LICENSE NO. 47-8015565159-0                 UNDETERMINED          _________________ UNDETERMINED

63.       Customer lists, mailing lists, or other compilations
63.1.     ___________________________________________________                   $_______________      _________________ $_______________

64.       Other intangibles, or intellectual property
64.1.     ___________________________________________________                   $_______________      _________________ $_______________



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                           Page 6 of 9
                            Case 20-12841-MFW                   Doc 402         Filed 12/07/20           Page 19 of 42

Debtor     YF Lafayette Place, LLC                                                                                   Case number (if known) 20-12875

65.       Goodwill
65.1.     ___________________________________________________                   $_______________        _________________ $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                        UNDETERMINED

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        þ No
        ¨ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        þ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor’s interest

71.       Notes receivable
          Description (include name of obligor)                Total face amount          Doubtful or                             Current value of
                                                                                          uncollectible amount                    debtor’s interest

71.1.     ______________________________________               $_______________        - $_______________          = ........ →   $_______________
          ______________________________________

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state,     Tax refund amount       NOL amount              Tax year                  Current value of
          local)                                                                                                                  debtor’s interest
72.1.     _________________________________             $_______________        $_______________        _________________ $_______________

73.       Interests in insurance policies or annuities
          Insurance company             Insurance policy      Annuity issuer name     Annuity account      Annuity account        Current value of
                                        No.                                           type                 No.                    debtor’s interest
73.1.     GREAT AMERICAN                PROPERTY       _________________ _______________ _______________ UNDETERMINED
          INSURANCE GROUP               INSURANCE -
                                        POLICY NO. MAC
                                        309-60-88-49
73.2.     GREAT AMERICAN                GENERAL               _________________ _______________ _______________ UNDETERMINED
          INSURANCE GROUP               LIABILITY AND
                                        PROPERTY
                                        INSURANCE -
                                        POLICY NO. PAC
                                        073-81-86-06
73.3.     GREAT AMERICAN                UMBRELLA       _________________ _______________ _______________ UNDETERMINED
          INSURANCE GROUP               INSURANCE -
                                        POLICY NO. UMB
                                        0738187 06


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                               Page 7 of 9
                            Case 20-12841-MFW                   Doc 402     Filed 12/07/20     Page 20 of 42

Debtor     YF Lafayette Place, LLC                                                                       Case number (if known) 20-12875

73.4.     U.S. SPECIALTY                D&O INSURANCE _________________ _______________ _______________ UNDETERMINED
          INSURANCE COMPANY             - POLICY NO. 14-
                                        MGU-20-A49049
73.5.     SCOTTSDALE                    PROPERTY              _________________ _______________ _______________ UNDETERMINED
          INSURANCE COMPANY             (VACANT)
                                        INSURANCE -
                                        POLICY NO.
                                        CPS7092438
73.6.     MOUNT VERNON FIRE             PROPERTY              _________________ _______________ _______________ UNDETERMINED
          INS. CO.                      (VACANT)
                                        INSURANCE -
                                        POLICY NO. CP
                                        2636179
73.7.     TRAVELERS (CHARTER            WORKERS               _________________ _______________ _______________ UNDETERMINED
          OAK INS. CO.)                 COMPENSATION
                                        INSURANCE -
                                        POLICY NO. UB-
                                        3L141685
73.8.     UNITED STATES                 PROPERTY              _________________ _______________ _______________ UNDETERMINED
          LIABILITY INSURANCE           (VACANT)
          COMPANY                       INSURANCE -
                                        POLICY NO. CP
                                        1726145
73.9.     UNITED STATES                 PROPERTY              _________________ _______________ _______________ UNDETERMINED
          LIABILITY INSURANCE           (VACANT)
          COMPANY                       INSURANCE -
                                        POLICY NO. CP
                                        2636193

74.       Causes of action against third parties (whether or not a lawsuit
          has been filed)
                                                          Nature of claim                      Amount requested    Current value of
                                                                                                                   debtor’s interest
74.1.     __________________________________              __________________________________   $_______________    $_______________

75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
                                                          Nature of claim                      Amount requested    Current value of
                                                                                                                   debtor’s interest
75.1.     __________________________________              __________________________________   $_______________    $_______________

76.       Trusts, equitable or future interests in property
76.1.     _______________________________________________________________________________________                  $_______________

77.       Other property of any kind not already listed
          Examples: Season tickets, country club membership
77.1.     INTERCOMPANY RECEIVABLE DUE FROM YOUFIT HEALTH CLUBS, LLC                                                UNDETERMINED

78.     Total of part 11
        Add lines 71 through 77. Copy the total to line 90.                                                         UNDETERMINED

79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?
        þ No
        ¨ Yes




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                Page 8 of 9
                             Case 20-12841-MFW                         Doc 402            Filed 12/07/20              Page 21 of 42

Debtor    YF Lafayette Place, LLC                                                                                                Case number (if known) 20-12875

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                                $0.00
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                          $8,208.59


82.   Accounts receivable. Copy line 12, Part 3.                                                $0.00


83.   Investments. Copy line 17, Part 4.                                                        $0.00


84.   Inventory. Copy line 23, Part 5.                                                          $0.00


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                            $0.00
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                                 $0.00



88.   Real property. Copy line 56, Part 9. ...................................................................... →           $389,910.50

89.   Intangibles and intellectual property. Copy line 66, Part 10.                      UNDETERMINED


90.   All other assets. Copy line 78, Part 11.                                     +     UNDETERMINED



91.   Total. Add lines 80 through 90 for each column. ..........91a.                          $8,208.59           + 91b.      $389,910.50




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................       $398,119.09




Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                                                  Page 9 of 9
                                Case 20-12841-MFW               Doc 402           Filed 12/07/20         Page 22 of 42


Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875

                                                                                                                               ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
       form.
       þ Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims

2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
       creditor separately for each claim.


                                                                                                              Column A         Column B
                                                                                                              Amount of        Value of
                                                                                                              Claim            collateral that
                                                                                                              Do not deduct    supports this
                                                                                                              the value of     claim
                                                                                                              collateral.


2.1.       Creditor's name and address                        Describe debtor’s property that is subject
                                                              to a lien

           BGC LENDER AND LENDERS REP                         ALL ASSETS                                      $88,259,121.01   UNDETERMINED
           CORTLAND CAPITAL MARKET SERVICES,
           LLC, AS COLLATERAL AGENT                           Describe the lien
           ALTER DOMUS (US) LLC
                                                              SENIOR SECURED LIEN
           225 W. WASHINGTON ST., 9TH FLOOR
           CHICAGO IL 60606                                   Is the creditor an insider or related party?
           Creditor’s email address, if known                 þ No
           _____________________________________              ¨ Yes
           Date debt was incurred: 4/16/2019                  Is anyone else liable on this claim?
           Last 4 digits of account number:                   ¨ No
           Do multiple creditors have an interest in the      þ Yes. Fill out Schedule H: Codebtors
           same property?                                (Official Form 206H).
           þ No                                               As of the petition filing date, the claim is:
                                                              Check all that apply.
           ¨ Yes. Have you already specified the
           relative priority?                                 ¨ Contingent
               ¨ No. Specify each creditor, including         ¨ Unliquidated
               this creditor, and its relative priority.
               _________________________________
                                                              ¨ Disputed
               _________________________________
               ¨ Yes. The relative priority of creditors is
               specified on lines: ______



Official Form 206D                      Schedule D: Creditors Who Have Claims Secured by Property                                       Page 1 of 2
                        Case 20-12841-MFW              Doc 402       Filed 12/07/20        Page 23 of 42

Debtor     YF Lafayette Place, LLC                                                                      Case number (if known) 20-12875




       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                        $88,259,121.01
       from the Additional Page, if any.



 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
           Name and address                                                                  On which line in       Last 4 digits of
                                                                                             Part 1 did you enter   account number
                                                                                             the related            for this entity
                                                                                             creditor?

3.1.       HOLLAND & KNIGHT                                                                  Line 2.1               _______________
           PHILLIP W NELSON; JOSHUA M SPENCER; ANASTASIA M SOTIROPOULOS
           150 N RIVERSIDE PLAZA STE 2700
           CHICAGO IL 60606

3.2.       WINSTON & STRAWN                                                                  Line 2.1               _______________
           GREGORY M GARTLAND
           200 PARK AVENUE
           NEW YORK NY 10166

3.3.       WINSTON & STRAWN LLP                                                              Line 2.1               _______________
           CAREY D SCHREIBER
           200 PARK AVENUE
           NEW YORK NY 10166

3.4.       WINSTON & STRAWN LLP                                                              Line 2.1               _______________
           MICHAEL T LEARY
           333 SOUTH GRAND AVE.,38TH FLOOR
           LOS ANGELES CA 90071

3.5.       YOUNG CONAWAY STARGATT & TAYLOR LLP                                               Line 2.1               _______________
           JOSEPH M BARRY; ANDREW L MAGAZINER; JOSEPH M MULVIHILL
           1000 NORTH KING ST
           WILMINGTON DE 19801




Official Form 206D                   Schedule D: Creditors Who Have Claims Secured by Property                              Page 2 of 2
                           Case 20-12841-MFW                 Doc 402          Filed 12/07/20          Page 24 of 42


Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       þ No. Go to Part 2.
       ¨ Yes. Go to line 2.
2.         List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If
           the debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $_______________        $_______________
           __________________________________
           __________________________________          ¨ Contingent
           __________________________________
           __________________________________          ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $_______________

           Date or dates debt was incurred             Basis for the claim:
           __________________________________          __________________________________

           Last 4 digits of account                    Is the claim subject to offset?
           number: __ __ __ __
                                                       ¨ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a)          ¨ Yes
           (_______)




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 1 of 5
                          Case 20-12841-MFW              Doc 402         Filed 12/07/20           Page 25 of 42

Debtor     YF Lafayette Place, LLC                                                                           Case number (if known) 20-12875

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.         List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
           with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAPELOUTO TERMITE & PEST CONTROL                                                                  $169.86
           700 CAPITAL CIRCLE NE                             ¨ Contingent
           TALLAHASSEE FL 32301
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           OUTSIDESVC
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CITY OF TALLAHASSEE UTILITIES                                                                     $4,070.67
           435 N MACOMB STREET                               ¨ Contingent
           RELAY BOX
           TALLAHASSEE FL 32301                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           UTILITIES
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.3.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAFAYETTE PLACE, LLC                                                                              $163,322.04
           C/O OM VENTURES                                   ¨ Contingent
           4008 N FLORIDA AVENUE
           TAMPA FL 33706                                    ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           RENT
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 5
                        Case 20-12841-MFW              Doc 402         Filed 12/07/20           Page 26 of 42

Debtor   YF Lafayette Place, LLC                                                                           Case number (if known) 20-12875




3.4.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAWSON & LAWSON ELECTRICAL SERVICES,                                                              $174.00
         INC                                               ¨ Contingent
         5019 METZKE LANE
         TALLAHASSEE FL 32303                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OUTSIDESVC
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.5.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARPAN SUPPLY CO., INC.                                                                           $38.70
         PO BOX 2068                                       ¨ Contingent
         TALLAHASSEE FL 32316-2068
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           UTILITIES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.6.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REDWIRE                                                                                           $744.35
         1136 THOMASVILLE RD                               ¨ Contingent
         TALLAHASSEE FL 32303
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OUTSIDESVC
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 5
                        Case 20-12841-MFW              Doc 402         Filed 12/07/20           Page 27 of 42

Debtor   YF Lafayette Place, LLC                                                                           Case number (if known) 20-12875




3.7.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VERITIV OPERATING COMPANY                                                                         $1,157.41
         P.O. BOX 849089                                   ¨ Contingent
         DALLAS TX 75284-9089
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           OUTSIDESVC
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.8.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YOUFIT HEALTH CLUBS, LLC                                                                          UNKNOWN
         1350 E. NEWPORT CENTER DR                         þ Contingent
         SUITE 110
         DEERFIELD BEACH FL 33442                          þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           INTERCOMPANY PAYABLE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 5
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Debtor     YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts


5a.   Total claims from Part 1                                                           5a.        $0.00


5b.   Total claims from Part 2                                                           5b.   +    $169,677.03


      Total of Parts 1 and 2                                                                        $169,677.03
5c.                                                                                      5c.
      Lines 5a + 5b = 5c.




Official Form 206E/F                 Schedule E/F: Creditors Who Have Unsecured Claims                             Page 5 of 5
                             Case 20-12841-MFW                Doc 402         Filed 12/07/20           Page 29 of 42


Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.       List all contracts and unexpired leases                                                           State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.     Title of contract                BILLING SERVICES AGREEMENT                                       ABC FINANCIAL SERVICES LLC
                                                                                                           MICHAEL ESCOBEDO COO
         State what the contract or       MERCHANT AGREEMENT                                               PO BOX 6800
         lease is for                                                                                      N LITTLE ROCK AR 72124
         Nature of debtor's interest      CONTRACT PARTY

         State the term remaining         ON 30 - DAYS WRITTEN NOTICE

         List the contract number of      _________________________________________________
         any government contract


2.2.     Title of contract                INSURANCE                                                        State the name and mailing address
                                                                                                           for all other parties with whom the
         State what the contract or       PROPERTY INSURANCE - POLICY NO. MAC 309-60-88-01                 debtor has an executory contract or
         lease is for                                                                                      unexpired lease
         Nature of debtor's interest      INSURED                                                          GREAT AMERICAN INSURANCE
                                                                                                           GROUP
         State the term remaining         5/4/2021                                                         ADMINISTRATIVE OFFICES
                                                                                                           301 EAST 4TH STREET
         List the contract number of      _________________________________________________                CINCINNATI OH 45202
         any government contract


2.3.     Title of contract                INSURANCE                                                        State the name and mailing address
                                                                                                           for all other parties with whom the
         State what the contract or       GENERAL LIABILITY AND PROPERTY INSURANCE -                       debtor has an executory contract or
         lease is for                     POLICY NO. PAC 073-81-86-06                                      unexpired lease
         Nature of debtor's interest      INSURED                                                          GREAT AMERICAN INSURANCE
                                                                                                           GROUP
         State the term remaining         5/4/2021                                                         ADMINISTRATIVE OFFICES
                                                                                                           301 EAST 4TH STREET
         List the contract number of      _________________________________________________                CINCINNATI OH 45202
         any government contract




Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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Debtor   YF Lafayette Place, LLC                                                                 Case number (if known) 20-12875

2.4.     Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    UMBRELLA INSURANCE - POLICY NO. UMB 0738187 06      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             GREAT AMERICAN INSURANCE
                                                                                           GROUP
         State the term remaining      5/4/2021                                            ADMINISTRATIVE OFFICES
                                                                                           301 EAST 4TH STREET
         List the contract number of   _________________________________________________   CINCINNATI OH 45202
         any government contract


2.5.     Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CLUB NO. 7394 - LAFAYETTE (MAHAN DRIVE) REAL        debtor has an executory contract or
         lease is for                  PROPERTY LEASE - 3111 MAHAN DRIVE SUITE 12,         unexpired lease
                                       TALLAHASSEE, FL 32308
                                                                                           LAFAYETTE PLACE OMV, LLC
         Nature of debtor's interest   LESSEE                                              4008 N FLORIDA AVE
                                                                                           TAMPA FL 33603
         State the term remaining      5/31/2028

         List the contract number of   _________________________________________________
         any government contract


2.6.     Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROPERTY (VACANT) INSURANCE - POLICY NO. CP         debtor has an executory contract or
         lease is for                  2636179                                             unexpired lease
         Nature of debtor's interest   INSURED                                             MOUNT VERNON FIRE INS. CO.
                                                                                           1190 DEVON PARK DRIVE
         State the term remaining      5/13/2021                                           WAYNE PA 19087
         List the contract number of   _________________________________________________
         any government contract


2.7.     Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROPERTY (VACANT) INSURANCE - POLICY NO.            debtor has an executory contract or
         lease is for                  CPS7092438                                          unexpired lease
         Nature of debtor's interest   INSURED                                             SCOTTSDALE INSURANCE
                                                                                           COMPANY
         State the term remaining      3/31/2021                                           8877 NORTH GAINEY CENTER
                                                                                           DRIVE
         List the contract number of   _________________________________________________   SCOTTSDALE AZ 85258
         any government contract


2.8.     Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WORKERS COMPENSATION INSURANCE - POLICY NO.         debtor has an executory contract or
         lease is for                  UB-3L141685                                         unexpired lease
         Nature of debtor's interest   INSURED                                             TRAVELERS (CHARTER OAK INS.
                                                                                           CO.)
         State the term remaining      10/1/2021                                           ONE TOWER SQUARE
                                                                                           HARTFORD CT '06183
         List the contract number of   _________________________________________________
         any government contract




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                           Page 2 of 3
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Debtor   YF Lafayette Place, LLC                                                                 Case number (if known) 20-12875

2.9.     Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    D&O INSURANCE - POLICY NO. 14-MGU-20-A49049         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             U.S. SPECIALTY INSURANCE
                                                                                           COMPANY
         State the term remaining      4/22/2021                                           TOKIO MARINE HCC
                                                                                           D&O GROUP
         List the contract number of   _________________________________________________   8 FOREST PARK DRIVE
         any government contract                                                           FARMINGTON CT 06032


2.10.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROPERTY (VACANT) INSURANCE - POLICY NO. CP         debtor has an executory contract or
         lease is for                  1726145                                             unexpired lease
         Nature of debtor's interest   INSURED                                             UNITED STATES LIABILITY
                                                                                           INSURANCE COMPANY
         State the term remaining      5/6/2021                                            1190 DEVON PARK DRIVE
                                                                                           WAYNE PA 19087
         List the contract number of   _________________________________________________
         any government contract


2.11.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PROPERTY (VACANT) INSURANCE - POLICY NO. CP         debtor has an executory contract or
         lease is for                  2636193                                             unexpired lease
         Nature of debtor's interest   INSURED                                             UNITED STATES LIABILITY
                                                                                           INSURANCE COMPANY
         State the term remaining      5/15/2021                                           2425 S. YANK CIRCLE
                                                                                           LAKEWOOD CO 33308
         List the contract number of   _________________________________________________
         any government contract


2.12.    Title of contract             LICENSE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LICENSE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   YOU FIT HEALTH CLUBS, LLC
                                                                                           1350 E. NEWPORT CENTER DRIVE
         State the term remaining      EXPIRED                                             SUITE 110
                                                                                           DEERFIELD BEACH FL 33442
         List the contract number of   _________________________________________________
         any government contract


2.13.    Title of contract             LICENSE AGREEMENT - EQUIPMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LICENSE AGREEMENT - EQUIPMENT                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   YOUFIT, LLC
                                                                                           1350 E. NEWPORT CENTER DRIVE
         State the term remaining      EXPIRED                                             SUITE 110
                                                                                           DEERFIELD BEACH FL 33442
         List the contract number of   _________________________________________________
         any government contract




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                           Page 3 of 3
                          Case 20-12841-MFW                  Doc 402         Filed 12/07/20          Page 32 of 42


Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   B-FIT HEALTH CLUB, LLC             1350 E. NEWPORT CENTER DR                 BGC LENDER AND LENDERS             þD
                                          SUITE 110                                 REP
                                          DEERFIELD BEACH FL 33442                                                     ¨ E/F
                                                                                                                       ¨G
2.2.   FIVE B-FIT, LLC                    1350 E. NEWPORT CENTER DR                 BGC LENDER AND LENDERS             þD
                                          SUITE 110                                 REP
                                          DEERFIELD BEACH FL 33442                                                     ¨ E/F
                                                                                                                       ¨G
2.3.   FOUR B-FIT, LLC                    1350 E. NEWPORT CENTER DR                 BGC LENDER AND LENDERS             þD
                                          SUITE 110                                 REP
                                          DEERFIELD BEACH FL 33442                                                     ¨ E/F
                                                                                                                       ¨G
2.4.   LIME TIME, LLC                     1350 E. NEWPORT CENTER DR                 BGC LENDER AND LENDERS             þD
                                          SUITE 110                                 REP
                                          DEERFIELD BEACH FL 33442                                                     ¨ E/F
                                                                                                                       ¨G
2.5.   SIX B-FIT, LLC                     1350 E. NEWPORT CENTER DR                 BGC LENDER AND LENDERS             þD
                                          SUITE 110                                 REP
                                          DEERFIELD BEACH FL 33442                                                     ¨ E/F
                                                                                                                       ¨G
2.6.   SOUTH FLORIDA HEALTH               1350 E. NEWPORT CENTER DR                 BGC LENDER AND LENDERS             þD
       AND FITNESS, INC.                  SUITE 110                                 REP
                                          DEERFIELD BEACH FL 33442                                                     ¨ E/F
                                                                                                                       ¨G

Official Form 206H                                          Schedule H: Codebtors                                                     Page 1 of 10
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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

       Column 1: Codebtor                                              Column 2: Creditor

       Name                        Mailing address                     Name                       Check all schedules that
                                                                                                  apply:

2.7.   THREE B-FIT, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.8.   YF ADMIN, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.9.   YF ARIZONA LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.10. YF BETHANNY, LLC             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.11. YF BETHANY TOWNE             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
      CENTER, LLC                  SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.12. YF BOYNTON MALL, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.13. YF BUFORD, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.14. YF CACTUS VILLAGE, LLC       1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.15. YF CARROLLWOOD, LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.16. YF CHANDLER SOUTH, LLC       1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.17. YF CONCORD, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
Official Form 206H                                   Schedule H: Codebtors                                       Page 2 of 10
                       Case 20-12841-MFW             Doc 402     Filed 12/07/20       Page 34 of 42

Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:


2.18. YF CORAL WAY II, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.19. YF CORAL WAY, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.20. YF DANIA POINTE LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.21. YF DEERFIELD, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.22. YF DOUGLASVILLE, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.23. YF DUNWOODY, LLC             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.24. YF EAST FOWLER, LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.25. YF FLAGLER LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.26. YF GATEWAY, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.27. YF GILBERT NORTH, LLC        1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G




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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:

2.28. YF GILBERT SOUTH, LLC        1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.29. YF GLENDALE, LLC             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.30. YF GREENACRES, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.31. YF GROUP A, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.32. YF HAMMOCK LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.33. YF HANCOCK, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.34. YF HIALEAH, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.35. YF HIALEAH-OKEECHOBEE        1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
      RD., LLC                     SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.36. YF HOLLYWOOD, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.37. YF HORIZON, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.38. YF HUNTSVILLE, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:


2.39. YF KENDALL, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.40. YF LAND O LAKES, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.41. YF LANTANA, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.42. YF LARGO PLAZA LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.43. YF LAUDERDALE LAKES, LLC     1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.44. YF LAUDERHILL, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.45. YF LOCH RAVEN LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.46. YF MARGATE, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.47. YF MESA, LLC                 1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.48. YF MIAMI 110TH LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G




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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:

2.49. YF MIAMI GARDENS, LLC        1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.50. YF NOLES, LLC                1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.51. YF NORTH LAUDERDALE, LLC     1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.52. YF NORTH POINT, LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.53. YF NORTH PORT, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.54. YF OKEECHOBEE, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.55. YF OLNEY, LLC                1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.56. YF PARADISE SQUARE LLC       1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.57. YF PARKLAND, LLC             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.58. YF PINE ISLAND, LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.59. YF PINES BOULEVARD, LLC      1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:


2.60. YF POMPANO, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.61. YF PORT CHARLOTTE, LLC       1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.62. YF QUAIL ROOST, LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.63. YF RACETRACK, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.64. YF RANDALLSTOWN, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.65. YF RHODE ISLAND, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.66. YF RIVERDALE, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.67. YF SANDALFOOT, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.68. YF SCOTTSDALE, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.69. YF SE FLA, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G




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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:

2.70. YF SHEA, LLC                 1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.71. YF SHELBY, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.72. YF SHILOH, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.73. YF SINGLETON, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.74. YF SOUTHAVEN, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.75. YF SPRING CREEK, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.76. YF SUWANEE, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.77. YF TAMARAC LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.78. YF TOWN CENTER, LLC          1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.79. YF UNIGOLD, LLC              1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.80. YF UNIVERSITY VILLAGE, LLC   1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
Official Form 206H                                   Schedule H: Codebtors                                       Page 8 of 10
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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:


2.81. YF VENICE, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.82. YF WELLINGTON, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.83. YF WEST BRANDON, LLC         1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.84. YF WESTON, LLC               1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.85. YOU FIT EIGHT, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.86. YOU FIT ENTERPRISES, LLC     1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.87. YOU FIT FIVE, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.88. YOU FIT FOUR, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.89. YOU FIT NINE, LLC            1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.90. YOU FIT PINELLAS PARK, LLC   1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G




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Debtor   YF Lafayette Place, LLC                                                             Case number (if known) 20-12875

      Column 1: Codebtor                                               Column 2: Creditor

      Name                         Mailing address                     Name                       Check all schedules that
                                                                                                  apply:

2.91. YOU FIT SEVEN, LLC           1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.92. YOU FIT SPA, LLC             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.93. YOU FIT-ONE, LLC             1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.94. YOUFIT HEALTH CLUBS, LLC     1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G
2.95. YOUFIT, LLC                  1350 E. NEWPORT CENTER DR           BGC LENDER AND LENDERS     þD
                                   SUITE 110                           REP
                                   DEERFIELD BEACH FL 33442                                       ¨ E/F
                                                                                                  ¨G




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Fill in this information to identify the case:

Debtor name: YF Lafayette Place, LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-12875



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                  12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



      þ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      þ Schedule H: Codebtors (Official Form 206H)
      þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨ Amended Schedule ____
      ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
      ¨ Other document that requires a declaration _______________________________________________________________________


      I declare under penalty of perjury that the foregoing is true and correct.



       Executed on      12/7/2020
                        MM/DD/YYYY                                û     /s/ Brian Gleason
                                                                      ______________________________________________________________
                                                                      Signature of individual signing on behalf of debtor


                                                                      Brian Gleason
                                                                      Printed name


                                                                      Chief Restructuring Officer
                                                                      Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors                                       Page 1 of 1
